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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UBISOFT ENTERTAINMENT, S.A. and
UBISOFT, INC.,

       Plaintiffs,                                  Case No. 22-cv-5214

v.                                                  Judge

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.


                                          COMPLAINT

        Plaintiffs, UBISOFT ENTERTAINMENT, S.A. and UBISOFT, INC. (“Plaintiffs”), by

 undersigned counsel, hereby complain of the Partnerships and Unincorporated Associations

 identified in Schedule A attached hereto (collectively, “Defendants”), and allege as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.; 28 U.S.C. § 1338(a) - (b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

 so related to the federal claims that they form part of the same case or controversy and derive

 from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly
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targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiffs’ ASSASSIN’S CREED

Trademarks. Each of the Defendants has targeted sales from Illinois residents by operating

online stores that offer shipping to the United States, including Illinois, accept payment in U.S.

dollars and, on information and belief, has sold products bearing counterfeit versions of

Plaintiffs’ federally registered trademarks to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Plaintiffs substantial injury in the State of Illinois.

                                         INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat e-commerce store operators who

trade upon Plaintiffs’ reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products using infringing and counterfeit versions of Plaintiffs’ federally registered

trademarks (the “Counterfeit Products”).

        4.      Defendants created numerous Internet Stores and designed them to appear to be

selling genuine Plaintiffs’ products, while selling inferior imitations of Plaintiffs’ products.

Defendant Internet Stores share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence or

series of transactions or occurrences. Defendants attempt to avoid liability by going to great



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 lengths to conceal both their identities and the full scope and interworking of their illegal

 counterfeiting operation. Plaintiffs are forced to file this action to combat Defendants’

 counterfeiting of Plaintiffs’ registered trademarks as well as to protect unknowing consumers

 from purchasing unauthorized products over the Internet. Plaintiffs have been and continue to be

 irreparably damaged through consumer confusion, dilution and tarnishment of their valuable

 trademarks as a result of Defendants’ actions and seek injunctive and monetary relief.

        5.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                         THE PLAINTIFFS

        6.      Plaintiffs own and manage the licensing, sale, and marketing of ASSASSIN’S

CREED products. UBISOFT ENTERTAINMENT, S.A. is the parent company of UBISOFT,

INC. UBISOFT ENTERTAINMENT, S.A. is a French corporation with its principal place of

business at 2, rue du Chêne Heleuc, Carentoir, 56910, FRANCE. UBISOFT, INC. is a California

corporation with its principal place of business at 625 3rd Street, 3rd floor, San Francisco,

California 94107.

         7.      Plaintiffs are in the business of developing, marketing, selling, distributing and

licensing ASSASSIN’S CREED branded products. ASSASSIN’S CREED is a multimedia

franchise comprising a trademarked video game series of the same name developed and published

by Plaintiffs. The first video game, the eponymous ASSASSIN’S CREED, was released in 2007.

Since then, ASSASSIN’S CREED has gone on to release more than twelve main series video



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games that have sold more than 100 million copies worldwide, making ASSASSIN’S CREED

one of the best-selling video game series of all time. The ASSASSIN’S CREED brand of

products has expanded beyond video games to a variety of other media, including: movies,

novels, comic books, toys, apparel and other types of products.

        8.      Plaintiffs are the owners of the Trademark Registration Nos. 3,438,084;

4,178,998; 4,597,881; 4,682,475; 4,704,227 and 5,300,715 for the “ASSASSIN’S CREED” word

mark in classes 14, 16, 18, 25 and 28 (collectively, the “ASSASSIN’S CREED Trademarks”).

        9.      The above registrations for the ASSASSIN’S CREED marks are valid, subsisting,

and in full force and effect. True and correct copies of the federal trademark registration

certificates for the above-referenced marks are attached hereto as Exhibit 1.

        10.     The ASSASSIN’S CREED Trademarks are distinctive and identify merchandise

as goods from Plaintiffs or their duly authorized licensees.

        11.     The ASSASSIN’S CREED Trademarks have been continuously used and never

abandoned.

        12.     Plaintiffs’ ASSASSIN’S CREED Trademarks are exclusive to Plaintiffs and are

displayed extensively on Plaintiffs’ Products and in Plaintiffs’ marketing and promotional

materials. Plaintiffs’ ASSASSIN’S CREED Trademarks have been the subject of substantial and

continuous marketing and promotion by Plaintiffs at great expense. In fact, Plaintiffs have

expended significant resources annually in advertising, promoting and marketing featuring

Plaintiffs’ ASSASSIN’S CREED Trademarks. Plaintiffs’ promotional efforts include — by way

of example, but not limitation — substantial print media, a website, social media sites and point

of sale materials. Because of these and other factors, Plaintiffs’ ASSASSIN’S CREED

Trademarks have become famous worldwide.



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       13.      Plaintiffs’ ASSASSIN’S CREED Trademarks are distinctive when applied to

Plaintiffs’ Products, signifying to the purchaser that the products come from Plaintiffs and are

manufactured to Plaintiffs’ quality standards. Whether Plaintiffs manufacture the products

themselves or license others to do so, Plaintiffs have ensured that products bearing their

Trademarks are manufactured to the highest quality standards. Plaintiffs’ ASSASSIN’S CREED

Trademarks have achieved fame and recognition, which has only added to the inherent

distinctiveness of the marks. As such, the goodwill associated with Plaintiffs’ ASSASSIN’S

CREED Trademarks is incalculable and of inestimable value to Plaintiffs.

        14.     Plaintiffs’ ASSASSIN’S CREED Trademarks qualify as famous marks, as used in

15 U.S.C. §1125 (c)(1), and have been continuously used and never abandoned.

        15.     Plaintiffs have expended substantial time, money, and other resources in

developing, advertising, and otherwise promoting their Trademarks.            As a result, products

bearing the ASSASSIN’S CREED Trademarks are widely recognized and exclusively associated

by consumers, the public and the trade as products sourced from Plaintiffs.

                                        THE DEFENDANTS

        16.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including Illinois and within this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendants’ Internet Stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell counterfeit products to consumers within the United States, including Illinois and this

Judicial District.



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                         THE DEFENDANTS’ UNLAWFUL CONDUCT

          17.   The success of Plaintiffs’ brand has resulted in its counterfeiting. Plaintiffs have

identified numerous domain names linked to fully interactive websites and marketplace listings

on platforms such as iOffer and Wish, including the Defendants’ Internet Stores, which were

offering for sale, selling and importing counterfeit products to consumers in this Judicial District

and throughout the United States. Defendants have persisted in creating the Defendants’ Internet

Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens of

millions of visits per year and generate over $135 billion in annual online sales. According to an

intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in 2013

was over $1.74 billion, up from $1.26 billion in 2012. Internet websites like the Defendants’

Internet Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate

businesses and broader economic damages such as lost tax revenue.

          18.   Upon information and belief, Defendants facilitate sales by designing the

Defendants’ Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine products.      Many of the Defendants’

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards and Wish.

Defendants’ Internet Stores often include images and design elements that make it very difficult

for consumers to distinguish such counterfeit sites from an authorized website. Defendants

further perpetuate the illusion of legitimacy by offering “live 24/7” customer service and using

indicia of authenticity and security that consumers have come to associate with authorized

retailers, including the McAfee® Security, VeriSign®, Visa®, MasterCard®, and PayPal®

logos.



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       19.     Plaintiffs have not licensed nor authorized Defendants to use their Trademarks

and none of the Defendants are authorized retailers of their genuine products.

       20.     Upon information and belief, Defendants deceive unknowing consumers by using

the Plaintiffs’ ASSASSIN’S CREED Trademarks without authorization within the content, text,

and/or meta tags of its websites to attract various search engines looking for websites relevant to

consumer searches for Plaintiffs’ products. Additionally, upon information and belief, Defendants

use other unauthorized search engine optimization (SEO) tactics and social media spamming so

that the Defendants’ Internet Stores listings show up at or near the top of relevant search results

and misdirect consumers searching for Plaintiffs’ genuine products. Further, Defendants utilize

similar illegitimate SEO tactics to propel new domain names to the top of search results after

others are shut down.      As such, Plaintiffs seek to disable the Domain Names owned by

Defendants through which their counterfeit products are sold.

       21.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Internet Stores. For

example, many of Defendants’ names and physical addresses used to register their Domain Names

are incomplete, contain randomly typed letters, or fail to include cities or states. Other Defendants’

Domain Names use privacy services that conceal the owners’ identity and contact information.

Upon information and belief, some of the tactics used by the Defendants to conceal their identities

and the scope and interworking of their counterfeit operations to avoid being shut down include

regularly creating new websites and online marketplace accounts on various platforms using the

identities listed in Schedule A to the Complaint, as well as other fictitious names and addresses.

       22.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendants’ Internet Stores. For example, some of the Defendants’ websites



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have identical layouts, even though different aliases were used to register their respective domain

names. In addition, the counterfeit products for sale in the Defendants’ Internet Stores bear

similarities and indicia of being related to one another, suggesting that the counterfeit products were

manufactured by a common source and that Defendants are interrelated. The Defendants’ Internet

Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, similar payment and check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, similar

hosting services, similar name servers, and the use of the same text and images.

       23.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, when counterfeiters like Defendants receive

notice of a lawsuit they will often register new domain names or online marketplace accounts

under new aliases and move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down demands

sent by brand owners. Counterfeiters will also ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and

Border Protection report on seizure statistics indicated that the Internet has fueled “explosive

growth” in the number of small packages of counterfeit goods shipped through the mail and

express carriers.

        24.    Further, counterfeiters such as Defendants typically operate multiple credit card

merchant and Wish accounts behind layers of payment gateways so that they can continue to

operate in spite of Plaintiffs’ enforcement efforts. Upon information and belief, Defendants



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maintain off-shore bank accounts and regularly move funds from their Wish accounts to off-shore

bank accounts outside the jurisdiction of this Court. Indeed, analysis of Wish transaction logs from

prior similar cases indicate that offshore counterfeiters regularly move funds from U.S.-based Wish

accounts to China-based bank accounts, for example, outside the jurisdiction of this Court.

       25.     On information and belief, Defendants are in constant communication with each

other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation and potential new lawsuits.

       26.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use Plaintiffs’ ASSASSIN’S CREED Trademarks in

connection with the advertisement, distribution, offering for sale, and sale of counterfeit products

into the United States and Illinois over the Internet. Each Defendants’ Internet Stores offer

shipping to the United States, including Illinois and, on information and belief, each Defendant

has offered to sell counterfeit products into the United States, including Illinois.

       27.     Defendants’ use of Plaintiffs’ ASSASSIN’S CREED Trademarks in connection

with the advertising, distribution, offering for sale, and sale of counterfeit products, including the

sale of counterfeit products into Illinois, is likely to cause and has caused confusion, mistake and

deception by and among consumers and is irreparably harming Plaintiffs.

                                             COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       28.     Plaintiffs repeat and incorporate by reference herein the allegations contained

in paragraphs 1-27 of this Complaint.




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          29.   This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of Plaintiffs’ Trademarks in connection

with the sale, offering for sale, distribution, and/or advertising of infringing goods. Plaintiffs’

ASSASSIN’S CREED Trademarks are highly distinctive. Consumers have come to expect the

highest quality from Plaintiffs’ products provided under their Trademarks.

          30.   Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with Plaintiffs’ ASSASSIN’S CREED Trademarks without Plaintiffs’ permission.

          31.   Plaintiffs are the owners of the ASSASSIN’S CREED Trademarks (Exhibit 1).

The United States Registrations for Plaintiffs’ ASSASSIN’S CREED Trademarks are in full

force and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’ rights

in their Trademarks and are willfully infringing and intentionally using Plaintiffs’ ASSASSIN’S

CREED Trademarks on counterfeit products. Defendants’ willful, intentional and unauthorized

use of Plaintiffs’ ASSASSIN’S CREED Trademarks is likely to cause and is causing confusion,

mistake and deception as to the origin and quality of the counterfeit products among the general

public.

          32.   Defendants’     activities   constitute   willful   trademark   infringement    and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

          33.   The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell and sale of counterfeit Plaintiffs’ products.




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       34.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known Trademarks.

                                     COUNT II
                    FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       35.        Plaintiffs repeat and incorporate by reference herein the allegations contained in

paragraphs 1-34 of this Complaint.

       36.        Defendants’ promotion, marketing, offering for sale and sale of counterfeit products

have created and are creating a likelihood of confusion, mistake and deception among the general

public as to the affiliation, connection, or association with Plaintiffs or the origin, sponsorship, or

approval of Defendants’ counterfeit products by Plaintiffs.

       37.        By using Plaintiffs’ ASSASSIN’S CREED Trademarks in connection with the

sale of counterfeit products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit products.

       38.        Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit products to the

general public under 15 U.S.C. §§ 1114, 1125.

       39.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their brand.

                                 COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

       40.        Plaintiffs repeat and incorporate by reference herein the allegations contained in

paragraphs 1-39 of this Complaint.


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       41.      Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit products as those of Plaintiffs, causing likelihood of confusion

and/or misunderstanding as to the source of its goods, causing likelihood of confusion and/or

misunderstanding as to an affiliation, connection or association with genuine products,

representing that their products have Plaintiffs’ approval when they do not, and engaging in other

conduct which creates likelihood of confusion or misunderstanding among the public.

       42.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1 et seq.

       43.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to his reputation and goodwill. Unless enjoined by the Court,

Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants and each of them as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys and

all persons acting for, with, by, through, under, or in active concert with them be temporarily,

preliminarily and permanently enjoined and restrained from:

       a. using Plaintiffs’ ASSASSIN’S CREED Trademarks or any confusingly similar

             trademark or name in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine product or is

             not authorized by Plaintiffs to be sold in connection with Plaintiffs’ ASSASSIN’S

             CREED Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             product or any other product produced by Plaintiffs that is not Plaintiffs’ or is not



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     produced under the authorization, control, or supervision of Plaintiffs and approved

     by Plaintiffs for sale under their Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit products are those sold under the authorization, control or supervision of

     Plaintiffs, or are sponsored by, approved by or otherwise connected with Plaintiffs;

  d. further infringing Plaintiffs’ ASSASSIN’S CREED Trademarks and damaging

     Plaintiffs’ reputation and goodwill;

  e. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be sold or offered

     including Plaintiffs’ ASSASSIN’S CREED Trademarks, or any reproductions,

     counterfeit copies or colorable imitations thereof;

  f. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Online Marketplace Accounts, the Defendant Domain Names, or any other domain

     name or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit products; and

  g. operating and/or hosting websites at the Defendants’ Domain Names and any other

     domain names registered or operated by Defendants that are involved with the

     distribution, marketing, advertising, offering for sale, or sale of any product bearing

     Plaintiffs’ ASSASSIN’S CREED Trademarks or any reproduction, counterfeit copy or

     colorable imitation thereof that is not a genuine product or is not authorized by Plaintiffs

     to be sold in connection with their Trademarks;




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        2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiffs a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through g, above;

        3) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendants’

Domain Names shall be changed from the current registrant to Plaintiffs, and that the domain

name registries for the Defendants’ Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendants’ Domain Names to a registrar of

Plaintiffs’ selection, and that the domain name registrars take any steps necessary to transfer the

Defendants’ Domain Names to a registrar of Plaintiffs’ selection; or that the same domain name

registries shall disable the Defendants’ Domain Names and make them inactive and

untransferable;

        4) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer, Wish,

social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

Google, Bing and Yahoo, web hosts for the Defendants’ Domain Names, and domain name

registrars, shall:

        a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of counterfeit products using Plaintiffs’ ASSASSIN’S CREED

            Trademarks including any accounts associated with the Defendants listed in Schedule

            A;




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       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit products using Plaintiffs’

           ASSASSIN’S CREED Trademarks; and

       c. take all steps necessary to prevent links to the Defendants’ Domain Names identified

           in Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendants’ Domain Names from any search index;

       5) That Defendants account for and pay to Plaintiffs all profits realized by Defendants

by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of Plaintiffs’ ASSASSIN’S CREED Trademarks are increased by a sum not

exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, Plaintiffs are awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of their

Trademarks;

       7) That Plaintiffs are awarded their reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.




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Dated: September 26, 2022      Respectfully submitted,


                               By:    /s/ Michael A. Hierl
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Complaint was filed electronically with the Clerk of the Court and served on all counsel of

record and interested parties via the CM/ECF system on September 26, 2022.



                                                     s/Michael A. Hierl




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